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             1     JOAN JACOBS LEVIE, #179787
                 LAW OFFICES OF JOAN JACOBS LEVIE
             2     2014 TULARE STREET, SUITE 528
                     FRESNO, CALIFORNIA 93721
             3      TELEPHONE: (559) 498-8155
                     FACSIMILE: (559) 498-8165
             4
                 Attorney for Defendant, SILVESTER MARTEZ KING
             5

             6
                                               UNITED STATES DISTRICT COURT
             7

             8                                 EASTERN DISTRICT OF CALIFORNIA

             9                                                   *****
            10                                               )     CASE NO. CR-F- 05-00032 OWW
                 UNITED STATES OF AMERICA,                   )
            11                                               )
                         Plaintiff,                          )     STIPULATION TO CONTINUE SENTENCING
            12                                               )     HEARING; ORDER
                 vs.                                         )
            13                                               )
                 SILVESTER MARTEZ KING, et al.,              )
            14                                               )
                 Defendant.                                  )
            15                                               )
            16
                         IT IS HEREBY STIPULATED by and between the parties and their attorneys, Stanley A.
            17
                 Boone, counsel for the Government, and Joan Jacobs Levie, counsel for defendant SILVESTER
            18
                 MARTEZ KING, that the sentencing hearing currently scheduled for July 24, 2006 at 10:00 a.m. be
            19
                 continued until July 31, 2006 at 10:00 a.m. before the Hon. Oliver W. Wanger, United States District
            20
                 Court presiding because of scheduling conflicts that were unknown as the time the original sentencing
            21
                 date was set.
            22
                 DATED:          May 1, 2006
            23
                                                      By:           Joan Jacobs Levie
            24                                                     JOAN JACOBS LEVIE
            25
                                                                    Attorney for Defendant
                                                                 SILVESTER MARTEZ KING
            26

            27
                 DATED:          May 1, 2006
                                                      By:        Stanley A. Boone
            28                                                   STANLEY A. BOONE
                                                                 Assistant U.S. Attorney
                                                                    -1-


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             1
                                                              *****
             2
                                                              ORDER
             3

             4          IT IS HEREBY ORDERED that the sentencing hearing will be continued in accordance

             5   with the above stipulation of counsel. The defendant is ordered to return to court for further
             6
                 proceedings on July 31, 2006 at 10:00 a.m.
             7

             8
                 DATED: __April 22, 2006
             9

            10

            11
                                                     By: __/s/ OLIVER W. WANGER_
            12

            13                                                OLIVER W. WANGER
                                                              United States District Court
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